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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

POLYMER DYNAIVIICS, INC. CIVIL ACTI()N
Plaintiff, NO. 99-4040
v. :
BAYER CORPORATION
Defendant.

 

PLAINTIFF’S REOUESTED .}URY INSTRUCTIONS
Plaintiff Polymer Dynamics, Inc. respectfully requests that the Court charge the jury as

' follows.
Respectfu]ly Submjtted,

MCKISSOCK & HOFFMAN, P.C.

 

J. Bruce McKis;c%

I.D, Number 13 36

Geraldine D. Zidow

I.D. Number 57407

Andrew L. Salvatore

I.D. Number 74797

1818 Market Street, 13th Floor

Phi]adelphia, Pennsylvania 19103

(215) 246-2100

Attomeys for Plaintiff, Polymer Dynamics, Inc.

 

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I. KEVIN F. O’MALLEY, ET AL., FEDERAL .IURY PRACTICE &
INSTRUCTIONS, CIVIL, V0L. 3 (WEST GROUP STH ED. 2000)

101.13 Notetaking Permitted. (Bayer also asks for this instruction At the time
the “Joirit” Requests for Instructiorts were submitted PDI was riot
certain whether to ask for this instruction The Court now may consider
this a “joirit” request instructiori.)

101.16 Questions by Jurors - Prohibited.
104.24 Notice of Knowledge - Duty of Inquiry.
104.25 Fai]ure to Cal] Available Witness.
164.26 Fai]ure to Produce Avai]able Evidence.
104.27 Suppression or Fabrication of Evidence.
104.40 Expert Witness.
127.12 Confidential Relationship.
127. 1 3 Misappropriation.
127.14 Compensatory Damages.
II. PENNSYLVANIA SUGGESTED STANDARD JURY INSTRUCTIONS
15.26 Damages - General]y

 

 

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SECTION III 1;[URY INSTRUCTION IN])EX

 

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2 Elements Of Fraud
3 Fraud ~ Element of Misrepresentation
4 Fraud - Deceit
5 Fraucl - Form Of Misrepresentation
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7 Fraud - Inducing Another to Act
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17 Breach of Contract - Darnages - Deprivation of a

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Plaintiff’s
Requested
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18 Breach of Contract - Reasonab}e Estimate of
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19 Breach Of Contract - Damages-UCC
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21 Breach Of Contract _ Damages _ Loss of
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22 Breach of Contract ~ Damages -- Mathematical
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23 Trade Secret - Definition
24 Unfair Competition - Definition of Trade Secret
25 Unfair Competition - Imposition of Liability
26 Trade Secretstnfair CompetitionfDisclosure
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III. INSTRUCTIONS FROM VARIOUS AUTHORITIES

Plaintiff’s Requested Charge No. 1
Fraud - Burden of Proof
The Plaintiff claims that the Defendant committed a fraud upon it. “[F]raud or intent to

defraud must be proved by ‘evidence that is clear, precise and convincing.’

Fraud may be established not only by direct proof but also by circumstantial evidence.”

 

See Allstate Iris. Co. v. A.M. Pugh Assoc. Iric., 604 F. Supp. 85, 98 (M.D. Pa. 1984) (quoting
Srieil v. Commonwealth, 490 Pa. 277, 281, 416 A.2d 468, 470 (1980).
Given

Refused
Modified

 

 

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Plaintiff’s Requested Charge No. 2
Elements of Fraud
“Fraud is the misrepresentation of a material fact on Which the other party relies to his
injury. To succeed on this claim, plaintiff must show: (1) A misrepresentation; (2) a fraudulent
utterance thereof; (3) an intention that another person Will thereby be induced to act or to refrain

from acting; (4) justifiable reliance by the recipient; and (5) damages to the recipient.”

 

Murr v. National Computer Systems, No. 88-5833, 1988 U.S. Dist. LEXIS 13897, at *3 (E.D. Pa.
December 8, 1988) (citing Harrison v. Fred S. James, P.A., Iric., 558 F. Supp. 438 (E.D. Pa.
1983).

Given _M

. Refused
Modified

 

 

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Plaintiff’s Requested Charge No. 3
Fraud - Element of Misrepresentation
“With regard to the misrepresentation element [of fraud], it need not be in the form of a

positive assertion but rather, is any artifice by Which a person is deceived to his disadvantage.”

 

Olkowski v. Prudential Iris. Co. ofAmerica, 584 F. Supp. 1140, 1141 (E.D. Pa. 1984).

Given _
Refused
Modified

 

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Plaintiff’s Requested Charge No. 4
Fraud v Deceit
Fraud is in essence deceit, and “. . . consists in anything calculated to deceive, Whether by
single act or combination, or by suppression of truth, or a suggestion of What is false, whether it
be direct falsehood or by innuendo, by speech or silence, Word of mouth, or look or gesture. It is

any artifice by Which a person is deceived to his disadvantage.”

 

See Edelen & Boyer Co. v. Kawasaki Loaders, No. 92-CV-1990, 1994 U.S. Dist. LEXIS 12579,
at *8 (E.D. Pa. Sept. 7, 1994) (quoting Iri re McClellari’s Estate, 365 Pa. 401, 407, 75 A.2d 595,
598 (1950)).
Given _

Refused
Modified

 

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Plaintiff’s Requested Charge No. 5
Frau_d - Form of Misrepresentation
“A statement of present intention Which is false When uttered may constitute a fraudulent

misrepresentation of a fact.”

 

Brentwater Hornes, Iric. v. Weibley, 471 Pa. 17, 23, 369 A.Zd 1172, 1175 (1977).

Given
Refused
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Plaintiff’s Requested Charge No. 6
Fraud - Promise
“[A] promise to do something in the future in itself does not constitute fraud but fraud

may be predicated on the nonperformance of a promise made as a device to accomplish the

fraud.”

 

Commonwealth v. Meyer, 169 Pa. Super. 40, 44, 82 A.2d 298, 301 (1951).

Given
Refused
Modified

 

 

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Plaintiff’s Requested Charge No. 7
Fraud - Indt_l§ing Another to Act
“[O]ne Who fraudulently misrepresents to another that he intends to do or not do a certain
thing in the future for the purpose of inducing the other to act in reliance thereon in a business
transaction is liable to the other for the harm caused to him by his justifiable reliance upon the

misrepresentation.”

 

See Kijj“in v. Barsho,k, No. 98-4363, 1999 U.S. Dist. LEXIS 5582, at *12 (E.D. Pa. April 12,
1999)
Given

. Refused
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Plaintiff’s Requested Charge No. 8
Fraud - Nondisclosure/Concealment
The “nondisclosure or concealment of material facts amounts to culpable

misrepresentation no less than an intentional false affirmation.”

 

See Allstate Ins. Co. v. A.M. Pugh Assoc. Iric., 604 F. Supp. 85, 97 (M.D. Pa. 1984).

Given
- Refused
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Plaintiff’s Requested Charge No. 9
Negligent Misregresentation
“One who, in the course of his business, profession or employment, or in any other
transaction in Which he has a pecuniary interest, supplies false information for the guidance of
others in their business transactions, is subject to liability for pecuniary loss caused to them by
their justifiable reliance upon the information, if he fails to exercise reasonable care or

competence in obtaining or communicating the information.”

 

Mo]j‘att Enterprises, Inc. v. Borden, Iric., 807 F.Zd 1169, 1174 (3d Cir. 1986) (quoting
Restatement (Second) of Torts § 552).
Given

Refused
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Plaintiff’s Requested Charge No. 10
Frag_q - Measure of Damages
In an action based on fraud, the injured party is entitled to all pecuniary losses Which
result from its reliance on the truth of the representations Lost profits damages are recoverable

for fraud. Lost future profits are an actual loss to a plaintiff

See GMH Associates, Inc. v. Prudentiai Realty Group, 38 Pa. D & C 4th 225, 322, 324 (1998)
(citing Delaharity v. First Pennsylvania Bank, 318 Pa. Super. 90, 118, 464 A.2d 1243, 1257

(198311.

Given
Refused
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Plaintiff’s Requested Charge No. 11
Breach of Contract - Ascertaining Intent
To determine What the manifested intention of the parties is, “look{ ] to the language of
their agreement, the surrounding circumstances1 the situation of the parties, and the objects they

had in vieW.”

 

See O’Brien & Gere Engineers, inc. v. Taleghoni, 540 F. Supp. 1114, 1116 CE.D. Pa. 1982, ajjf’d
without opinion, 707 F.2d 1394 and 707 F.2d 1395 (3d Cir. 1983) (citing In re Carter, 390 Pa.
365, 372, 134 A.2d 908, 912 (1957)). n

Given _

Refused
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Plaintiff’s Requested Charge No. 12

Multiple Documents Mav Form Contract

A contract need not be embodied in one document “Any number of documents can be

taken together to make out the necessary Written terms of the bargain provided there is sufficient

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connection made out between the papers. . . . ‘

 

See American Leasing v. Morrison Co., 308 Pa. Super 318, 326 n.7,, 454 A.2d 555, 559 n.7
(1982) (citing 4. S. Williston, Williston on Contracts at 218 (3d ed. 1957).
Given

Refused
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Plaintiff’s Requested Charge No. 13
Breach of Contract - Dutv of Good Faith
The law imposes a duty upon each party to “carry out the purpose for Which the contract
was made and to refrain from doing anything that Would destroy or injure the other party’ s right
to receive the fruits of the contract Accordingly, a promise to do . . . [each] act necessary to

carry out the contract . . . [is] . . . implied” in every contract.

 

See Daniel B. Vart Carnpen Corp. v. Builciihg & Corist. Tro:cies Council, 202 Pa. Super. 118, 122,
195 A.2d 134, 136-7 (1963) (quoting 8 Pa. Luw Encycl. § 140).
Given ___

Refused
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Plaintiff’s Requested Charge No. 14
Breach of Contract ~ Fajlure to Kee;) a Promise
The failure to keep a promise is a “breach” of the agreement at the time the failure
occurs, regardless of Whether the other party knows of the breach or, if it knows of it, does
anything about it.

The remedy for such a breach may be measured from the time it occurred

 

See Restatement (Second) of Contracts § 243(4) (1979).
Given _

Refused
Modified

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Plaintiff’s Requested Charge No. 15
Breach of Contrgct - Damages - Expectation Interest
If you find that the defendant breached the contract, then you must decide, based on the
evidence plaintiff has presented, the amount of money damages which will compensate plaintiff
for its loss as a result of the breach. Your aim, in calculating this amount, should be to put the

plaintiff in as good a position as it would have occupied had the contract been performed

See ATA or . v. Tr ` ` '
Given

Refused
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Plaintiff’s Requested Charge No. 16
Breach of Contract - Damages - Fullv Compensate for All Losses
Should you decide that Plaintiff is entitled to receive damages for Defendant’s breach of
contract, the amount of your award must fully compensate plaintiff for all of its losses resulting

from the breach.

 

See Empire Props. v. Equireal, Iric., 449 Pa. Super. 476, 674 A.2d 297 (1996)

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Plaintiff’s Requested Charge No. 17

Breach of Contract - Damages ~ Deprivation of a ChaM

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A recovery of substantial damages is warranted [w]here a breach of contract involves

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deprivation of a chance which has value in a business sense . . . .

 

See Nemitz v. Bell Teiephone Co., 225 Pa. Super. 202, 310 A.2d 376 (Pa. Super. 1973)
(quoting 11 S. Williston, Williston on Contracts § 1346).
Given

.Refused
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Plaintiff’s Requested Charge No. 18
Breach of Contract -- Reasonable Estimate of Damag§
ln calculating the appropriate amount of damages, you may consider all direct and
positive proof as Well as probabilities and inferences Which can be drawn from that proof From

all of that, you may make a reasonable estimate of the damages

 

See United Hosp., Iric. v. Corhprehensive Cure Corp., No. 90-3889, 1991 U.S. Dist. LEXIS 8836
(E.D. Pa. lime 25, 1991).
Given

Refused
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Plaintiff’s Requested Charge No. 19

Breach of Contract - Damages-UCC

Where the product delivered to the buyer does not conform to the contract, “there are
three types of lost profits recoverable as consequential damages . . .: (1) loss of primary profits;
(2) loss of secondary profits; and (3) good will damages, defined as a loss of prospective profits

or business reputation.”

See AM/PM Frartchise Association v. Atiantic Richfieid Co., 526 Pa. 110, 132, 584 A.2d 915,

 

926 (1990).

Given
Refused
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Plaintiff’s Requested Charge No. 20
Breach of Contract - Damages - Proof of Lost Profits
“[I]n establishing loss of future profits [or prospective profits] it is only the fact that some
loss has resulted from the defendant’s breach of contract Which must be provided With certainty.
Once that fact has been established the actual amount of the lost profits need not be proved with
certainty but may be estimated from the facts in evidence, including the inferences_to be drawn

from them and the probabilities which they suggest.”

 

See Garo’ner v. the Caivert, 253 F.Zd 395 , 399-400 (3d Cir. 1958), cert. denied, Sound S.S. Lines,
Inc. v. Gardner, 356 U.S. 960 (1958); see also Delahanty v. First Nat’l Bank, 318 Pa. Super. 90;
464 A.2d 1243 (1983).

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. Refused
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Plaintiff’s Requested Charge No. 21
Breach of Contract - Damages - Loss of Anticipated Prot`its
“[A] party may recover damages or the loss of anticipated profits when they result from
a breach of contract All damages resulting necessarily and directly from the breach are

recoverable.”

 

See Gardner v. the Calvert, 253 F.2d 395, 399-401 (3d Cir. 1958), cert. denied, Sound S.S. Lines,
Inc. v. Garciner, 356 U.S. 960 (1958).
Given

Refused
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Plaintiff’s Requested Charge No. 22
Breach of Contract - Damages - Mathematical Certa_intv Not Required

Darnages need not be proved With mathematical certainty

 

See Stana'ard Pipeline Coating Co., Inc. v. Solomon & Teslovich, Inc., 344 Pa. Super. 367, 379,
496 A.2d 840, 846 (1985); Loko,y v. Lehigh Valley Cooperative Farrners, Inc., 342 Pa. Super. 89,
101, 492 A.2d 405, 411 (1985).

Given ____

- Refused
Modified

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Plaintiff’s Requested Charge No. 23
Trade Secret - Definition
Plaintiff claims that defendant misappropriated trade secrets. A trade secret is “‘any
formula, pattern, device or compilation of information which is used in one’s business, and gives
. . . [one] an opportunity to obtain an advantage over competitors who do not know or use it.”’ It
may be a formula for a chemical compound, a process of manufacturing, treating or preserving

materials, a pattern for a machine or other device, or a list of customers

 

See Restatement of Torts § 757 (1939), cmt. b; Rohm & Haus Co. v. Acico Cheinical Co., 689
F.2d 424, 431 (3d Cir. 1982); Reinforced Molding Corjp. v. General Elec. Co., 592 F. Supp.
1083, 1088 (W.D. Pa. 1984) (quoting Felrnlee v. Lockett, 466 Pa. 1, 9, 351 A.2d 273, 277
(1976)).

Given _

Refused
Modified

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Plaintiff’s Requested Charge No. 24

Unfair Competition - Detinition of Trade Secret

“Pennsylvania courts adopt the Restatement (First) of Torts' definition of trade secret,
which states that a trade secret may consist of any formula, pattern, device or compilation of
information which is used in one‘s business, and which gives him an opportunity to obtain an
advantage over competitors who do not know or use it. It may be a formula for a chemical
compound, a process of manufacturing, treating or preserving materials a pattern for a machine
or other device, or a list of customers A trade secret is a process or device for continuous use in
the operation of the business The crucial indicia of determining Whether certain information
constitutes a trade secret are substantial secrecy and competitive value to the owner. Moreover,

confidentiality agreements is evidence of the secret nature of the subject information.”

 

See Air Procis. & Chem. v. Inter-Chemical Ltd., No. 03-CV-6140, 2003 U.S. Dist. LEXIS 23985,

at *25 (E.D. Pa. Dec. 2, 2003).

Given
Refused
Modified

 

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Plaintiff’s Requested Charge No. 25

Unfair Competition - Imposition Of Liabilitv

“Pennsylvania recognizes a common-law claim of unfair competition under the
Restatement (Third) of Unfair Competition, which provides that one who causes harm to the
commercial relations of another by engaging in a business or trade is not subject to liability to
the other for such harm unless the harm results from acts or practices of the actor determined to
be actionable as an unfair method of competition, taking into account the nature of the conduct
and its likely effect on both the person seeking relief and the public. Furthermore, a competitor
who diverts business from another through the wrongful use of confidential information, for
example, may in some circumstances be subject to liability for unfair competition even if the
conduct is not specifically actionable under the rules relating to deceptive marketing or

appropriation of trade secrets.”

 

See Air Prods. & Chem. v. Inter-Chemical Ltd., No. 03-CV-6140, 2003 U.S. Dist. LEXIS 23985,

at *34-”‘35 (E.D. Pa. Dec. 2, 2003) (citing Restatement (Third) Unfair Competition § 1(a)).

Given
Refused
Modified

 

 

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Plaintiff’s Requested Charge No. 26

Trade Secretstnfair Competition/Disclosure Agreement - Damag§

Where defendant has misappropriated plaintiff’s trade Secrets, or engaged in unfair
competition or breached a disclosure agreement the measure of damages is the pecuniary loss to
the plaintiff caused by the wrongdoing, or the pecuniary gain of the wrongdoer, whichever is

greater.

See Rohrn and Haas Co. v. Adco Cheinical Co., 689 F.2d. 424, 433-34 (3d Cir. 1982); Sweetzei
Inc v. Hawk Hill Cookies. Inc.. No. 95-2632. 1996 U.S. Dist. LEXIS 8562_ at*13 (E.D. Pa. lune

19, 1996) (quoting Restatement (Third) Unfair Competition § 45(1), 1995).

Given
Refused
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Plaintiff’s Requested Charge No. 27

Trade Secrets/Unfair Competition/Disclosure Agreement - Lost Profits

To prove lost profit damages a plaintiff must show that it is reasonably certain that such
profits Would have been realized except for the defendant’s wrongdoing, and the lost profits can

be ascertained and measured with reasonable certainty from the evidence introduced

 

See F.B. Leopolal Co. v. Rober'ts Filter Manf Co., No. 92-2427, 1995 U.S. Dist. LEXIS 17639, at
*4, (W.D. Pa. lune 26, 1995) (quoting Donsco Inc. v. Casper Corp., 205 U.S. P.Q. 245 (E.D. Pa.
1980)).

Given _

Refused
Modified

 

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Plaintiff’s Requested Charge No. 28

Punitive Damages

In addition to actual damages the law permits a jury, under certain circumstances to
award the injured My [person] punitive and exemplary damages in order to punish the
wrongdoer for some extraordinary misconduct, and to serve as an example or warning to others
not to engage in such conduct.

lf you find from a preponderance of the evidence in the case that plaintiff is entitled to a
verdict for actual or compensatory damages [and you further find that the act or omission of
defendant which proximately caused actual injury or damage to plaintift] because you find that
Baver committed fraud or stole Polymer Dvnamics’ trade secrets and vou find that Bayer’s
fraudulent conduct or theft of trade secrets Was maliciously, or Wantonly, or oppressively done,
then you may add to the award of actual damages such amount as you shall unanimously agree to
be proper as punitive and exemplary damages

An act or failure to act is “maliciously” done, if prompted or accompanied by ill will, or

spite, or grudge, or trickery or deceit toward the injured [person individually, or toward all

 

An act or a failure to act is “wantonly” done, if done in reckless or callous disregard of,
or indifference to, the rights of [one or more persons including the injured person] the injured
pma

An act or a failure to act is “oppressively” done, if done in a way or manner which

injures or damages or otherwise violates the rights of [another person] the injured party with

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unnecessary harshness or severity, as by misuse or abuse of authority or power, or by taking
advantage of some Weakness, or disability, or misfortune of [another person] the injured party

Whether or not to make any award of punitive and exemplary damages in addition to
actual damages is a matter exclusively within the province of the jury, if you unanimously find,
from a preponderance of the evidence [in the case], that defendant Bayer’s [act or omission]
conduct, Which proximately caused actual damage to plaintiff Polymer Dynamics, was
maliciously or wantonly or oppressiver done. [You should always bear in mind that] Such
extraordinary damages may be allowed only if you should first unanimously first award Polmer
Dynamics a verdict for actual or compensatory damages on either its fraud or theft of trade
secrets claims If there is no award of compensatory damages on either one of those two claims
then you may not award any punitive damages

You should also bear in mind, not only the conditions under Which and the purposes for
which the law permits an award of punitive and exemplary damages to be made, but also the
requirement of the law that the amount of such extraordinary damages When awarded, must be

fixed with calm discretion and sound reason, and must never be either awarded, or fixed in

 

 

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amount because of any sympathy, or bias or prejudice With respect to any party to the case. lf
you decide to award punitive damages they must be reasonable and proportionate to the amount

of harm to the Plaintiff and the compensatory damages received

Kevin F. O’Malley, et al., Federal lury Practice & lnstructions Civil, Vol. 3, § 123.40 (West
Group Sth ed. 2000); see also State Farm Auto Ins. Co. v. Campbell, 538 U.S. 408. 416. 426

(2002); BMW OfNorth Arnericu v. Gore, 517 U.S. 559, 574, 581, 585-86 (1996).

Given
Refused
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CERTIFICATE OF SERVICE
I, Geraldine D. Zidow, hereby certify that 1 caused a true and correct copy of the
foregoing Plaintijjf’s Requested fury Instructions to be served via e-mail on May 2, 2005, and via
hand delivery on May 3, 2005, both addressed as follows:
Teresa N. Cavenagh, Esquire
Duane Morris LLP
One Liberty Place
Philadelphia, PA 19103

TNCavenagh@duanemorris.com

 

 

 

